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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
In re:

MARYANNE KARAMAN,                                                    Case No. 6:14-bk-01818-CCJ

                                                                 Chapter 13
      Debtor.
_____________________/

                 MOTION TO MODIFY CONFIRMED CHAPTER 13 PLAN

                                NOTICE OF OPPORTUNITY TO
                                 OBJECT AND FOR HEARING

         Pursuant to Local Rule 2002-4, the Court will consider this motion, objection or other
matter without further notice or hearing unless a party in interest files an objection within
twenty-one (21) days from the date of service of this paper. If you object to the relief requested
in this paper, you must file your objection with the Clerk of the Court at Court at George C.
Young Federal Courthouse, 400 West Washington Street, Suite 5100, Orlando, FL 32801, and
serve a copy of the same on Debtor's Attorney, Charles W. Price, Esq., Price Law Firm, 390
Maitland Avenue, Suite 1000, Altamonte Springs, FL 32701; and upon the Chapter 13 Trustee,
Laurie K. Weatherford, Post Office Box 3450, Winter Park, Florida 32790.

        If you file and serve an objection within the time permitted, the Court will schedule a
hearing and you will be notified. If you do not file an objection within the time permitted, the
Court will consider that you do not oppose the granting of the relief requested in the paper, will
proceed to consider the paper without further notice or hearing and may grant the relief
requested.

         COMES NOW the Debtor, MARYANNE KARAMAN, by and through her undersigned

attorney, and hereby moves to modify the chapter 13 plan on the following grounds:


         1.    The Debtor’s Chapter 13 Plan was confirmed on September 22, 2014.

         2.    The Debtor filed her 2014 Tax Return and received a refund of $5,636.00. The

         Debtor filed her 2016 Tax Return and received a refund of $4,418.00.

         3.     The Debtor submitted a request to keep the 2014 and 2016 Income Tax Refunds.

         The Trustee denied the request to keep the 2014 tax refund but allowed the Debtor to
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       keep $1,173.00 of the 2016 Tax Refund.

       6.      Due to the Debtor’s financial situation, she is unable to repay the funds as a lump

       sum and requests to repay the $4,418.00 and $2,645.00 during the remaining months of

       the plan.

        5.     The Proposed Modification, attached hereto as Exhibit “A” repays the 2014 tax

       refund and the required portion of the 2016 tax refund in full through the remainder of the

       plan.



        WHEREFORE, the Debtor respectfully requests that this Court enter an order modifying

the Confirmed Plan as set forth above.

                                                   /s/ Charles W. Price
                                                   CHARLES W. PRICE, ESQ.
                                                   Price Law Firm


                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Modify

Chapter 13 Plan has been provided by United States mail on this 5th day of April, 2018 to the

Chapter 13 Trustee and all creditors on the attached spreadsheet.

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                                                   /s/ Charles W. Price
                                                   CHARLES W. PRICE, ESQ.
                                                   400 Maitland Avenue,
                                                   Altamonte Springs, FL 32701
                                                   Attorney for Debtors
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